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                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    JANE DOE
                              Plaintiff,

                     v.                                  CIVIL ACTION NO. 22-2689
    UNIVERSITY OF PENNSYLVANIA
                              Defendant.


                                             ORDER

           AND NOW, this 18th day of June 2024, this action having been stayed pending

Plaintiff’s appeal, 1 and pursuant to the mandate issued by the United States Court of Appeals for

the Third Circuit, 2 it is hereby ORDERED that the Clerk of Court is directed to REMOVE the

stay of proceedings and return this case to the active docket.

           It is so ORDERED.

                                                         BY THE COURT:

                                                         /s/ Cynthia M. Rufe
                                                         _____________________
                                                         CYNTHIA M. RUFE, J.




1
    Order, April 11, 2023 [Doc. No. 26].
2
    Mandate of Ct. Appeals [Doc. No. 27].
